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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISION
UNITED STATES OF AMERICA §
§
§
Vv 8 CASE NO. 5:20-CR-014-H-BQ-1
§
§
RAYMOND EARL RILEY §

REPORT AND RECOMMENDATION ON PLEA
BEFORE THE UNITED STATES MAGISTRATE JUDGE

 

This case has been referred by the United States district judge to the undersigned
for the taking of a guilty plea. The parties have consented to appear before a United States
magistrate judge for these purposes. This Report and Recommendation on Plea is submitted
to the Court under 28 U.S.C. § 636(b)(3).

Under authority granted by Congress in the Coronavirus Aid, Relief, and Economic
Security Act (CARES Act) and based upon findings by the United States Judicial
Conference that emergency conditions exist that materially affect the functioning of the
Court, Chief Judge Barbara M. G. Lynn issued Special Order 13-9 in which she specifically
found that felony pleas under Federal Rule of Criminal Procedure |1 cannot be conducted
in person without seriously jeopardizing public health and safety. As a result, Special
Order 13-9 authorizes the use of video teleconferencing for taking felony guilty pleas in
particular cases where the district judge has made a finding that the plea cannot be further
delayed without serious harm to the interests of justice. Upon the joint motion of both

parties, the district judge has made such a finding in this case.
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The defendant appeared via video teleconference with counsel before the
undersigned United States magistrate judge who addressed the defendant personally in
open court and informed the defendant of, and determined that the defendant understood,
the admonitions contained in Rule 11 of the Federal Rules of Criminal Procedure.

The defendant pleaded guilty (under a written plea bargain agreement with the
government) to Count One of the Superseding Indictment charging defendant with a
violation of 21 U.S.C. $$ 84l(aj1) and 841{b)(2), that is, Possession with Intent to
Distribute Alprazolam. The undersigned magistrate judge finds the following:

1. The defendant, upon advice of counsel, has consented orally and in

writing to enter this guilty plea before a magistrate judge, subject to final

approval and sentencing by the presiding district judge;

2. The defendant fully understands the nature of the charges (including
each essential element of the offense(s) charged) and penalties;

3. The defendant fully understands the terms of the plea agreement and plea
agreement supplement;

4, The defendant understands all constitutional and statutory rights and
wishes to waive these rights, including the right to a trial by jury and the
right to appear before a United States district judge;

5. The defendant’s plea is made freely and voluntarily;

6. The defendant is competent to enter this plea of guilty;

7. There is a factual basis for this plea; and

8. The ends of justice are served by acceptance of the defendant’s piea of
guilty,

Although T have conducted these proceedings and recommend acceptance of the

defendant’s plea of guilty, the United States district judge has the power to review my
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actions and possesses final decision-making authority in this proceeding. Thus, if the
defendant has any objections to these findings or any other action of the undersigned, he is
required to make those known to the United States district judge within fourteen (14) days
of today.

Based on the above, I recommend that the defendant’s plea of guilty be accepted,

that the defendant be adjudged guilty, and that sentence be imposed accordingly.

(Il

D. GORDON BRYANT, JR.
UNITED STATES MAGISTRATE JUDGE

Signed September 18, 2020.

 
